 

er ee to me RO Oe

 

 

wa
Priority
Send val
Enter mens
Closed —
UNITED STATES DISTRICT COURT JS-5/I8-6 — een.
CENTRAL DISTRICT OF CALIFORNIA JS-2/3S-3 1;
Scan Only —.: =
CIVIL MINUTES - GENERAL if
Case No. CV00-7903-AHM(BORx) Date: May 10,2002
Title: U.S.A. v. UPPER SAN GABRIFL VALLEY MUNICIPAL WATER Df. et al.

 

PRESENT: THE HONORABLE A. HOWARD MATZ, U.S. DISTRICT E

Stephen Montes Mary Tucker
Courtroom Clerk Court Reporter

ATTORNEYS FOR PLAINTIFF: ATTORNEYS FOR DEFENDANTS:
David Becker D, Wayne Leech

PROCEEDINGS: Status Conference

Cause called; appearances made. Court and counsel confer regarding the
proposed settlement plan as it pertains to Spanish sur-name registered voters
percentages/demographic characieristics. Court and counsel agree that there is no
evidence of bad-faith. Court mstructs counsel that at the conclusion of this action
the parties are to submit a dismissal with prejudice. Court declines Government’s
request to set a further status conference at this time. However, the Court orders
the parties to file a further joint status report re: settlement no later than June 10,

 

MAY 10 2002

oD

\

2002.
PB SHCMS
MINUTES FORM 90 | Initials of Deputy Clerk,
CIVIL - GEN
|

 
